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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

                                                   §
  In re:                                           §   Chapter 11
                                                   §
  DARYL GREG SMITH,                                §   Lead Case No. 21-60162-rbk
                                                   §
  CANADIAN RIVER RANCH, LLC                        §   Second Case No. 21-60163-rbk
                                                   §
                 Jointly Administered Debtors.     §   (Jointly Administered Under
                                                   §   Case No. 21-60162-rbk)

     GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGIES,
     AND DISCLAIMERS REGARDING THE DEBTORS’ AMENDED SCHEDULES
     OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        The Amended Schedules of Assets and Liabilities (the “Schedules”) and the Amended
 Statements of Financial Affairs (the “SOFAs”) filed by Daryl Greg Smith (“Daryl”) and Canadian
 River Ranch, LLC (“CRR LLC,” and together with Daryl, the “Debtors”) as debtors and
 debtors-in-possession were prepared pursuant to Section 521 of the Bankruptcy Code and
 Rule 1007 of the Federal Rules of Bankruptcy Procedure by the Debtors, with the assistance of the
 Debtors’ advisors, and are unaudited.

         These Global Notes and Statement of Limitations, Methodologies, and Disclaimers
 Regarding the Debtors’ Amended Schedules of Assets and Liabilities and Statements of Financial
 Affairs (the “Global Notes”) are incorporated by reference in, and comprise an integral part of, the
 Schedules and SOFAs and should be referred to and considered in connection with any review of
 the Schedules and SOFAs.

         While the Debtors have made reasonable efforts to ensure that the Schedules and SOFAs
 are as accurate and complete as possible under the circumstances, based on information that was
 available at the time of preparation, inadvertent errors, inaccuracies, or omissions may have
 occurred or the Debtors may discover subsequent information that requires material changes to the
 Schedules and SOFAs. Because the Schedules and SOFAs contain unaudited information, which
 is subject to further review, verification, and potential adjustment, there can be no assurance that
 the Schedules and SOFAs are complete.

         The Global Notes supplement and are in addition to any specific notes contained in the
 respective Schedules or SOFAs. Disclosure of information in one or more Schedules, one or more
 SOFAs, or one or more exhibits or attachments to the Schedules or SOFAs, even if incorrectly
 placed, shall be deemed to be disclosed in the correct Schedule, SOFA, exhibit, or attachment.




 GLOBAL NOTES REGARDING AMENDED SCHEDULES AND SOFAS                                                1
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 I.      DESCRIPTION OF CASES

        The Debtors filed their voluntary petitions for relief pursuant to chapter 11 of the
 Bankruptcy Code on April 9, 2021 (the “Petition Date”). The Court has ordered procedural
 consolidation and joint administration of these chapter 11 cases pursuant to Bankruptcy
 Rule 1015(b). Copies of the Global Notes are being filed with each of the Debtors’ respective
 Statements and SOFAs in their respective cases. The Debtors continue to operate their businesses
 and manage their properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the
 Bankruptcy Code.

 II.     “AS OF” INFORMATION DATE

          To the best of the Debtors’ knowledge, the asset information provided herein, except as
 expressly noted otherwise, represents the asset data of the Debtors as of the Petition Date. Where
 applicable, the basis for the valuation of each asset is listed on the Schedules. The Debtors reserve
 all of their rights to amend or adjust the value of each asset set forth herein. In addition, the amounts
 shown for total liabilities may exclude items identified as “unknown” or listed with a value of $0,
 and as a result, the liabilities may differ materially from those stated in the Schedules and SOFAs.
 Financial statements included herein include estimates to the best of the Debtors’ knowledge.

 III.    GENERAL RESERVATION OF RIGHTS

         Reasonable efforts have been made to prepare and file complete and accurate Schedules
 and SOFAs; however, inadvertent errors or omissions may exist. The Debtors reserve all rights to
 amend or supplement the Schedules and SOFAs from time to time, in all respects, as may be
 necessary or appropriate, including the right to amend the Schedules and Statements with respect
 to any claim (“Claim”) description, designation, or Debtor against which the Claim is asserted;
 dispute or otherwise assert offsets or defenses to any Claim reflected in the Schedules and SOFAs
 as to amount, liability, priority, status, or classification; subsequently designate any Claim as
 “disputed,” “contingent,” or “unliquidated”; or object to the extent, validity, enforceability,
 priority, or avoidability of any Claim. Any failure to designate a Claim in the Schedules and
 SOFAs as “disputed,” “contingent,” or “unliquidated” does not constitute an admission by the
 Debtors that such Claim or amount is not “disputed,” “contingent,” or “unliquidated.” Listing a
 Claim does not constitute an admission of (i) liability or (ii) amounts due or owed, if any, by the
 Debtor against which the Claim is listed or against any of the Debtors. Furthermore, nothing
 contained in the Schedules and SOFAs shall constitute a waiver of rights with respect to these
 chapter 11 cases, including issues involving Claims, substantive consolidation, defenses, equitable
 subordination, or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code
 and any other relevant non-bankruptcy laws to recover assets or avoid transfers. Any specific
 reservation of rights contained elsewhere in the Global Notes does not limit in any respect the
 general reservation of rights contained in this paragraph.

 IV.     RECHARACTERIZATION

        The Debtors have made reasonable efforts to correctly characterize, classify, categorize,
 and designate the Claims, assets, executory contracts, unexpired leases, interests, and other items
 reported in the Schedules and SOFAs. Nevertheless, the Debtors may not have accurately

 GLOBAL NOTES REGARDING AMENDED SCHEDULES AND SOFAS                                                     2
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 characterized, classified, categorized, or designated certain items. The Debtors reserve all of their
 rights to recharacterize, reclassify, recategorize, or redesignate items reported in the Schedules and
 SOFAs at a later time as necessary or appropriate.

 V.     RESERVATION OF RIGHTS

         The Debtors reserve all rights to amend the reported amounts of assets and liabilities to
 reflect changes in those estimates or assumptions.

 VI.    TOTALS

        All totals that are included in the Schedules and Statements represent totals of all known
 amounts included in the Schedules and SOFAs. To the extent there are unknown or otherwise
 undetermined amounts, the actual total may be different than the listed total.

 VII.   GLOBAL NOTES CONTROL

        In the event that the Schedules and Statements differ from the Global Notes, the Global
 Notes shall control.

 VIII. SPECIFIC DISCLOSURES WITH RESPECT TO THE SCHEDULES

 The Divorce Proceeding Appraisals and Valuations

         In 2015, Daryl’s former spouse, Karen A. Smith (“Karen”), commenced divorce
 proceedings (the “Divorce Proceedings”) in the 325th District Court for Tarrant County, Texas
 (the “Family Court”). During the Divorce Proceedings, appraisals were performed of certain
 property in McIntosh County, Oklahoma and Bosque County, Texas (the “Divorce Proceeding
 Appraisals”) and opinions of value were provided of various business entities (the “Divorce
 Proceeding Valuations”). The values of certain property in McIntosh County, Oklahoma and
 Bosque County, Texas and of certain business entities may be listed on the Schedules and SOFAs
 using values from the Divorce Proceeding Appraisals and the Divorce Proceeding Valuations,
 which values may represent the most recent available appraisals and valuations of such property.
 The Debtors may obtain updated valuations of such properties and business entities and reserve all
 rights to amend the scheduled amounts to reflect any such assessments.

 The Receiver Deeds and Mortgages

          In November 2019, the Family Court entered a Final Decree of Divorce (the “Divorce
 Decree”), which, among other things, ordered a division of community property, including, among
 other things, awarding to Daryl, as his sole and separate property—and divesting Karen of all right,
 title, interest, and claim to—the property in McIntosh County, Oklahoma 1 and 100% of the
 community interest in the various business entities. The Divorce Decree included the entry of a
 judgment in favor of Karen in the amount of $8,500,000 (the “Money Judgment”) and ordered


 1
        Karen retains an undivided 50% interest in the mineral acreage.

 GLOBAL NOTES REGARDING AMENDED SCHEDULES AND SOFAS                                                  3
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 Daryl to sign a note payable to Karen in the amount of the Money Judgment (the “Money Judgment
 Note”). The Divorce Decree ordered that the Money Judgment Note be secured by liens on certain
 property in McIntosh County, Oklahoma and Bosque County, Texas and net mineral acres in Bent
 County, Colorado and appointed a receiver to effect such liens (the “Money Judgment Liens”).

         On February 7, 2020, the Family Court entered an Order Appointing Substitute Receiver
 and Granting Specific Authority to Receiver, which appointed Stanley W. Wright as the receiver
 (the “Receiver”) in the Divorce Proceedings to effectuate the Money Judgment Liens. On
 February 7, 2020, Karen and the Receiver executed various deeds, which purported to convey
 Karen’s interest in the properties in McIntosh County, Oklahoma and interests held by Caddoa
 Creek Ranch, LLC in the properties in Bosque County, Texas and in the net mineral acres in Bent
 County, Colorado to the Receiver “for and on behalf of” Daryl (the “Receiver Deeds”). The
 Receiver also executed mortgages on the properties to Karen to secure the Money Judgment Note
 (the “Receiver Mortgages”). The Receiver Deeds and the Receiver Mortgages were recorded in
 the respective counties, and the Receiver has been discharged. Although the Debtors continue to
 dispute the validity of the Receiver Deeds and Mortgages, the Statements and SOFAs reflect the
 property transfers and encumbrances effected by the Receiver. The Debtors reserve all rights to
 amend the scheduled amounts.

 The McIntosh County, Oklahoma Properties

         The Debtors are currently marketing for sale certain of the McIntosh County, Oklahoma
 properties (the “McIntosh Properties”) in order to satisfy the Money Judgment. The valuation of
 the McIntosh Properties is based on the experience of the broker marketing the land, a review of
 comparable sales, and the knowledge of the Debtors regarding the McIntosh County, Oklahoma
 properties. The Debtors reserve all rights to amend the scheduled values as additional information
 is gathered and/or appraisals and valuations performed.


        RESPECTFULLY SUBMITTED this 4th day of June 2021.

                                                     MUNSCH HARDT KOPF & HARR, P.C.

                                                     By: /s/ Thomas Berghman
                                                            Davor Rukavina, Esq.
                                                            Texas Bar No. 24030781
                                                            Thomas D. Berghman, Esq.
                                                            Texas Bar No. 24082683
                                                            500 North Akard St., Ste. 3800
                                                            Dallas, Texas 75201
                                                            Telephone: (214) 855-7500
                                                            Facsimile: (214) 978-4375
                                                            Email: drukavina@munsch.com
                                                            Email: tberghman@munsch.com

                                                     Counsel to the Debtors
                                                     and Debtors in Possession

 GLOBAL NOTES REGARDING AMENDED SCHEDULES AND SOFAS                                              4
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 Fill in this information to identify the case:
 Debtor name Canadian River Ranch, LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS                                                                                   Check if this is an

 Case number (if known):                21-60163-rbk                                                                                                  amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Boomer State                                                   pending litigation      Unliquidated                                                                              $0.00
 Outdoors, LLC                                                                          Disputed
 12384 West 81st                                                                        Subject to
 Street South                                                                           Setoff
 Sapulpa, OK
 74066-8141
 Hockley County                                                                                                                                                                   $0.00
 Cattle Company, Inc.
 c/o Steven Garner
 PO Box 429
 Eufaula, OK 74432
 Jessica L. Brown                                                                                                                                                                 $0.00
 PLLC
 9450 SW Gemini Dr.
 #99088
 Beaverton, OR
 97008-7105
 Karen Annette Smith                                            divorce judgment        Disputed                                                                      $8,500,000.00
 700 Nettleton Dr.
 Southlake, TX 76092
 Lazy K Cattle                                                  pending litigation      Unliquidated                                                                              $0.00
 Company, LLC                                                                           Disputed
 2956 Via Esperanza
 Edmond, OK 73013
 Stipe Law Firm                                                 legal fees              Disputed                                                                            $6,296.31
 343 East Carl Albert
 Pkwy.
 PO Box 1369
 McAlester, OK 74502
 Tekell & Tekell, LLP                                           pending litigation      Unliquidated                                                                              $0.00
 Roosevelt Building                                                                     Disputed
 400 Austin Ave. Ste.
 1000
 Waco, TX 76701




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                                27
 Fill in this information to identify the case:

 Debtor name            Canadian River Ranch, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF TEXAS

 Case number (if known)               21-60163-rbk
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           117,269.55

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           117,269.55


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        8,506,296.31


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           8,506,296.31




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                                 27
 Fill in this information to identify the case:

 Debtor name          Canadian River Ranch, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         21-60163-rbk
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     BBVA                                                   Checking                         1572                                     $4,715.16



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                      $4,715.16
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit
                     Appeal bond posted with McIntosh County District Court, Oklahoma , Boomer State Outdoors,
            7.1.     LLC v. Canadian River Ranch, LLC, Case No. CJ-2013-0059                                                                       $112,554.39



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


 9.         Total of Part 2.                                                                                                                   $112,554.39
            Add lines 7 through 8. Copy the total to line 81.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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                                                27
 Debtor         Canadian River Ranch, LLC                                                          Case number (If known) 21-60163-rbk
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes Fill in the information below.
 11.       Accounts receivable
           11a. 90 days old or less:                                 40,553.00   -                          40,553.00 = ....                        $0.00
                                              face amount                            doubtful or uncollectible accounts




           11b. Over 90 days old:                               120,506.86       -                       120,506.86 =....                           $0.00
                                              face amount                            doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                    $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 2
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                                                27
 Debtor         Canadian River Ranch, LLC                                                    Case number (If known) 21-60163-rbk
                Name



 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Counterclaims against Tekell & Tekell LLP in the lawsuit
            pending in the McLennan County District Court, Tekell &
            Tekell LLP v. C2S Property Holdings LLC, et al., Cause No.
            2020-2691-4                                                                                                                   Unknown
            Nature of claim          Malpractice, negligence
            Amount requested                                $0.00


            Lawsuit pending in the McIntosh County, Oklahoma, District
            Court, Canadian River Ranch, LLC, Daryl Greg Smith, and
            Darren Keith Reed v. Stanley W. Wright and Karen A. Smith,
            Cause No. CV-2020-00083                                                                                                       Unknown
            Nature of claim          Action to clear title
            Amount requested                               $0.00


            Lawsuit pending in the McIntosh County, Oklahoma, District
            Court, Boomer State Outdoors, LLC v. Canadian River
            Ranch, LLC , Case No. CJ-2013-00059                                                                                           Unknown
            Nature of claim          Lease dispute
            Amount requested                              $0.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                               $0.00
            Add lines 71 through 77. Copy the total to line 90.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Canadian River Ranch, LLC                                                    Case number (If known) 21-60163-rbk
                Name

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 4
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 Debtor          Canadian River Ranch, LLC                                                                           Case number (If known) 21-60163-rbk
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $4,715.16

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $112,554.39

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $117,269.55           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $117,269.55




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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                                                27
 Fill in this information to identify the case:

 Debtor name         Canadian River Ranch, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         21-60163-rbk
                                                                                                                               Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Canadian River Ranch, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)          21-60163-rbk
                                                                                                                                                      Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      Unknown
           Boomer State Outdoors, LLC                                         Contingent
           12384 West 81st Street South                                       Unliquidated
           Sapulpa, OK 74066-8141
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    pending litigation
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No     Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      Unknown
           Hockley County Cattle Company, Inc.                                Contingent
           c/o Steven Garner                                                  Unliquidated
           PO Box 429                                                         Disputed
           Eufaula, OK 74432
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      Unknown
           Jessica L. Brown PLLC                                              Contingent
           9450 SW Gemini Dr. #99088                                          Unliquidated
           Beaverton, OR 97008-7105                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $8,500,000.00
           Karen Annette Smith                                                Contingent
           700 Nettleton Dr.                                                  Unliquidated
           Southlake, TX 76092
                                                                              Disputed
           Date(s) debt was incurred     11/27/2019
                                                                             Basis for the claim:    divorce judgment
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 3
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 Debtor       Canadian River Ranch, LLC                                                               Case number (if known)            21-60163-rbk
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  Unknown
           Lazy K Cattle Company, LLC                                         Contingent
           2956 Via Esperanza                                                 Unliquidated
           Edmond, OK 73013
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    pending litigation
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $6,296.31
           Stipe Law Firm                                                     Contingent
           343 East Carl Albert Pkwy.                                         Unliquidated
           PO Box 1369
           McAlester, OK 74502
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    legal fees
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  Unknown
           Tekell & Tekell, LLP                                               Contingent
           Roosevelt Building                                                 Unliquidated
           400 Austin Ave. Ste. 1000
           Waco, TX 76701                                                     Disputed
           Date(s) debt was incurred                                         Basis for the claim:    pending litigation
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any
 4.1       David G. Tekell
           Tekell & Tekell, L.L.P.                                                                    Line     3.7
           400 Austin Avenue, Suite 1000
           Waco, TX 76701                                                                                   Not listed. Explain


 4.2       Dylan Charles Edward
           101 North Robinson Ave.                                                                    Line     3.5
           Corporate Tower, Ste. 700
           Oklahoma City, OK 73102                                                                          Not listed. Explain


 4.3       Greg A. Farrar
           Farrar & Farrar, P.C.                                                                      Line     3.1
           2021 South Lewis Ave. Ste. 420
           Tulsa, OK 74104                                                                                  Not listed. Explain


 4.4       James C. Hodges
           26522 East 21st Street, Ste. 4                                                             Line     3.4
           Tulsa, OK 74114
                                                                                                            Not listed. Explain

 4.5       Jeremy R. Pruett
           301 Commerce St., Ste. 1500                                                                Line     3.4
           Fort Worth, TX 76102
                                                                                                            Not listed. Explain

 4.6       Marc W. Taubenfeld
           McGuire, Craddock & Strother, P.C.                                                         Line     3.1
           500 N. Akard Street, Suite 2200
           Dallas, TX 75201                                                                                 Not listed. Explain


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 3
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           Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                 related creditor (if any) listed?               account number, if
                                                                                                                                                 any
 4.7       William Korb
           Bourland, Wall & Wenzel, PC                                                           Line      3.4
           Fort Worth, TX 76102
                                                                                                       Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.         $                          0.00
 5b. Total claims from Part 2                                                                        5b.    +    $                  8,506,296.31

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.         $                    8,506,296.31




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Canadian River Ranch, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         21-60163-rbk
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.         State what the contract or                  Exclusive Hunting,
              lease is for and the nature of              Fishing, and Recreation
              the debtor's interest                       Lease Agreement

                  State the term remaining                January 31, 2022
                                                                                        Boomer State Outdoors, L.L.C.
              List the contract number of any                                           12384 West 81st Street South
                    government contract                                                 Sapulpa, OK 74066-8141


 2.2.         State what the contract or                  Cattle Grazing Lease
              lease is for and the nature of
              the debtor's interest

                  State the term remaining                June 30, 2025
                                                                                        Hockley County Cattle Company, Inc.
              List the contract number of any                                           P.O. Box 825
                    government contract                                                 Levelland, TX 79336




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Canadian River Ranch, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         21-60163-rbk
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Daryl Greg Smith                  5826 Cooksey Ln                                  Jessica L. Brown PLLC           D
                                               Robinson, TX 76706                                                                E/F        3.3
                                                                                                                                G



    2.2      Daryl Greg Smith                  5826 Cooksey Ln                                  Karen Annette Smith             D
                                               Robinson, TX 76706                                                                E/F        3.4
                                                                                                                                G



    2.3      Daryl Greg Smith                  5826 Cooksey Ln                                  Lazy K Cattle                   D
                                               Robinson, TX 76706                               Company, LLC                     E/F        3.5
                                                                                                                                G




Official Form 206H                                                      Schedule H: Your Codebtors                                           Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Canadian River Ranch, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF TEXAS

 Case number (if known)         21-60163-rbk
                                                                                                                                      Check if this is an
                                                                                                                                       amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                     04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                      Gross revenue
       which may be a calendar year                                                            Check all that apply                    (before deductions and
                                                                                                                                       exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                                        $0.00
       From 1/01/2021 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                             $180,076.70
       From 1/01/2020 to 12/31/2020
                                                                                                Other


       For year before that:                                                                    Operating a business                             $157,000.00
       From 1/01/2019 to 12/31/2019
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue       Gross revenue from
                                                                                                                                       each source
                                                                                                                                       (before deductions and
                                                                                                                                       exclusions)

       From the beginning of the fiscal year to filing date:
       From 1/01/2021 to Filing Date                                                           Patronage Payment                                    $13,787.76


       For prior year:
       From 1/01/2020 to 12/31/2020                                                            Patronage Payment                                    $25,722.00


       For year before that:
       From 1/01/2019 to 12/31/2019                                                            Patronage Payment                                    $15,234.41


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 1
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 Debtor       Canadian River Ranch, LLC                                                                 Case number (if known) 21-60163-rbk




3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Holders and Associates PC                                   04/07/2021                         $4,034.00           Secured debt
               405 S Cascade Ave, Ste 106                                                                                         Unsecured loan repayments
               Colorado Springs, CO 80903                                                                                         Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other   bank error

       3.2.
               Jessica L Brown PLLC                                        03/24/2021                         $5,138.69           Secured debt
               15205 Traditions Lake Pkwy                                                                                         Unsecured loan repayments
               Edmond, OK 73013                                                                                                   Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other   legal services


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Caddoa Creek Ranch, LLC                                     05/07/2020,                      $23,500.00           repayment of money from Caddoa
               611 S Llano Street                                          10/30/2020,                                           Creek Ranch, LLC
               Whitney, TX 76692                                           01/19/2020,
               affiliated entity                                           02/17/2021

       4.2.    DD Farms, LLC                                               07/08/2020                         $9,500.00          repayment of money from DD
               5912 Cooksey Lane                                                                                                 Ranch, LLC
               Robinson, TX 76706
               affiliated entity

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                              Describe of the Property                                       Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

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 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case             Court or agency's name and            Status of case
               Case number                                                                 address
       7.1.    Lazy K. Cattle Company, LLC v.                   cattle grazing lease       Oklahoma County District                   Pending
               Canadian River Ranch, LLC, et                    dispute                    Court, Oklahoma                        On appeal
               al                                                                          Oklahoma County
                                                                                                                                  Concluded
               CJ-2017-4210                                                                Courthouse
                                                                                           320 Robert S. Kerr
                                                                                           Oklahoma City, OK 73102

       7.2.    Canadian River Ranch, LLC,                       action to clear title      McIntosh County District                   Pending
               Daryl Greg Smith, and Darren                                                Court, Oklahoma                        On appeal
               Keith Reed v. Stanley W. Wright                                             McIntosh County Courthouse
                                                                                                                                  Concluded
               and Karen A. Smith                                                          110 N First St.
               CV-2020-00083                                                               Eufaula, OK 74432

       7.3.    Boomer State Outdoors, LLC v.                    lease dispute              McIntosh County District                   Pending
               Canadian River Ranch, LLC                                                   Court, Oklahoma                        On appeal
               CJ-2013-00059                                                               McIntosh County Courthouse
                                                                                                                                  Concluded
                                                                                           110 N. First St.
                                                                                           Eufaula, OK 74432

       7.4.    Tekell & Tekell LLP v. C2S                       legal fees dispute;        McLennan County District                   Pending
               Property Holdings LLC, et al.                    Debtor filed               Court, Texas                           On appeal
               2020-2691-4                                      countersuit                501 Washington Avenue
                                                                                                                                  Concluded
                                                                                           Suite 300
                                                                                           Waco, TX 76701


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                Dates given                         Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None




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       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss           Value of property
       how the loss occurred                                                                                                                                  lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Munsch Hardt Kopf & Harr, P.C.
                 500 N. Akard Street, Suite 3800
                 Dallas, TX 75201                                                                                              11/25/2020             $20,000.00

                 Email or website address
                 tberghman@munsch.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                 Dates transfers            Total amount or
                                                                                                                       were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
                Who received transfer?                          Description of property transferred or                   Date transfer            Total amount or
                Address                                         payments received or debts paid in exchange              was made                          value
       13.1                                                     120 acres and 159 acres of real property in
       .    Daryl Greg Smith                                    McIntosh County, Oklahoma, transferred by
                5826 Cooksey Ln                                 court-appointed receiver in divorce
                Robinson, TX 76706                              proceedings                                              2/17/2020                   $382,470.00

                Relationship to debtor
                managing member


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.




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 Debtor      Canadian River Ranch, LLC                                                                  Case number (if known) 21-60163-rbk




       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                the debtor provides                                                     and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was              Last balance
                Address                                         account number            instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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       None
       Facility name and address                                     Names of anyone with                 Description of the contents                   Do you still
                                                                     access to it                                                                       have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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 Debtor      Canadian River Ranch, LLC                                                                  Case number (if known) 21-60163-rbk



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.                                                     mortgagee of land that Debtor leases
             Canadian River Ranch                                                                              EIN:         XX-XXXXXXX
             Partnership                                      to third parties
             5912 Cooksey Ln                                                                                   From-To      12/15/2000 to present
             Robinson, TX 76706


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Lisa W. Hull, CPA, PC                                                                                                      2019 to present
                    PO Box 20502                                                                                                               (taxes for Canadian
                    Waco, TX 76702                                                                                                             River Ranch
                                                                                                                                               Partnership)

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Daryl Greg Smith
                    5912 Cooksey Ln
                    Robinson, TX 76706
       26c.2.       Darren Keith Reed
                    601 S Llano St
                    Whitney, TX 76692

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None
       Name and address
       26d.1.  Farm Credit of Western Oklahoma
                    513 S. Mission St
                    Anadarko, OK 73005

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                         Date of inventory         The dollar amount and basis (cost, market,
                inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.
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       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Daryl Greg Smith                               5912 Cooksey Ln                                     Managing Member                       100
                                                      Robinson, TX 76706



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1                                                                                                              5/7/2020,         repayment of
       .    Caddoa Creek Ranch, LLC                                                                                      10/30/2020,       money from
               611 S Llano Street                                                                                        1/19/2021,        Caddoa Creek
               Whitney, TX 76692                                $23,500.00                                               2/17/2021         Ranch, LLC

               Relationship to debtor
               affiliated entity


       30.2 DD Farms, LLC                                                                                                                  repayment of
       .    5912 Cooksey Lane                                                                                                              money from DD
               Robinson, TX 76706                               $9,500                                                   07/08/2020        Ranch, LLC

               Relationship to debtor
               affiliated entity


       30.3                                                                                                                                payment on behalf
       .                                                                                                                                   of mortgagee
               Farm Credit of Western                                                                                                      (Canadian River
               Oklahoma                                                                                                                    Ranch Partnership)
               513 S. Mission St.                                                                                        06/11/2020,       of land being
               Anadarko, OK 73005                               $130,000.00                                              8/14/2020         leased by Debtor

               Relationship to debtor
               mortgagor of land that Debtor
               leases to third parties


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

       No
           Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Canadian River Ranch Partnership                                                                           EIN:        75-294901




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